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 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Shon Morgan (Bar No. 187736)
 2  (shonmorgan@quinnemanuel.com)
    John W. Baumann (Bar No. 288881)
 3
    (jackbaumann@quinnemanuel.com)
 4 865 South Figueroa Street, 10th Floor
   Los Angeles, California 90017
 5 Telephone:    (213) 443-3000
   Facsimile:    (213) 443-3100
 6

 7   Cristina Henriquez (Bar No. 317445)
     (cristinahenriquez@quinnemanuel.com)
 8 555 Twin Dolphin Drive, 5th Floor
   Redwood Shores, California 94065
 9 Telephone:      (650) 801-5000
   Facsimile:      (650) 801-5000
10
   Attorneys for Defendant ANCESTRY.COM
11 OPERATIONS INC.

12                           UNITED STATES DISTRICT COURT
13                        NORTHERN DISTRICT OF CALIFORNIA
14 ALICE ZHANG and WAYNE TSENG,               CASE No.
   individually and on behalf of a class of
15 similarly situated persons,
                                              DECLARATION OF SHON MORGAN IN
16                                            SUPPORT OF DEFENDANTS’ NOTICE
                   Plaintiffs,                OF REMOVAL OF ACTION TO
17                                            FEDERAL COURT
           vs.
18

19 ANCESTRY.COM OPERATIONS INC., a
   Delaware Corporation
20
                   Defendant.
21

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                                                            Case No.
          DECLARATION OF SHON MORGAN ISO NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
       Case 3:21-cv-07652-LB Document 1-1 Filed 09/29/21 Page 2 of 116




 1                              DECLARATION OF SHON MORGAN

 2          1.     I am a member of the bar of the State of California and the Northern District of

 3 California. I am a partner at Quinn Emanuel Urquhart & Sullivan, LLP, attorneys for defendant

 4 Ancestry.com Operations Inc. I make this declaration of personal, firsthand knowledge, and if

 5 called and sworn as a witness, I could and would testify competently hereto.

 6          2.     Attached as Exhibit 1 is a true and correct copy of the complaint filed on August

 7 10, 2021 in the state court action, Case No. HG21108450 in the Superior Court of the State of

 8 California in the County of Alameda.

 9          3.     Attached as Exhibit 2 is a true and correct copy of the state court civil case cover

10 sheet filed in the state court action, Case No. HG21108450 in the Superior Court of the State of

11 California in the County of Alameda.

12          4.     Attached as Exhibit 3 is a true and correct copy of the corrected complaint filed on

13 August 16, 2021 in the state court action, Case No. HG21108450 in the Superior Court of the

14 State of California in the County of Alameda.

15          5.     Attached as Exhibit 4 is a true and correct copy of the service package served on

16 Ancestry.com Operations Inc. on August 31, 2021, which includes the summons and operative

17 complaint in the state court action, Case No. HG21108450 in the Superior Court of the State of

18 California in the County of Alameda.

19          6.     Attached as Exhibit 5 is a true and correct copy of the proof of service of the

20 corrected complaint on Ancestry.com Operations Inc. filed by plaintiffs on September 2, 2021 in

21 the state court action, Case No. HG21108450 in the Superior Court of the State of California in the

22 County of Alameda.

23          7.     Attached as Exhibit 6 is a true and correct copy of the proof of service of the

24 corrected complaint on Ancestry.com Operations Inc. filed by plaintiffs on September 15, 2021 in

25 the state court action, Case No. HG21108450 in the Superior Court of the State of California in the

26 County of Alameda.

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                                                     -1-                      Case No.
           DECLARATION OF SHON MORGAN ISO NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
       Case 3:21-cv-07652-LB Document 1-1 Filed 09/29/21 Page 3 of 116




 1          8.      Attached as Exhibit 7 is a true and correct copy of the Minutes of the September

 2 22, 2021 Complex Determination Hearing in Case No. HG21108450 in the Superior Court of the

 3 State of California in the County of Alameda, which were entered on September 27, 2021.

 4          9.      Attached as Exhibit 8 is a true and correct copy of the Order on Complex

 5 Determination entered on September 27, 2021 in Case No. HG21108450 in the Superior Court of

 6 the State of California in the County of Alameda.

 7          10.     Exhibits 1 through 8 constitute all publicly filed process, pleadings, and orders on

 8 file in the state court and/or served on defendants in the state court.

 9          11.     Attached as Exhibit 9 is a true and correct copy of the Notice To Adverse Party Of

10 Removal Of Action To Federal Court and proof of service of this document on plaintiffs through

11 their counsel of record in the state court action.

12          I declare under penalty of perjury under the laws of the United States that the foregoing is

13 true and correct.

14          Executed on September 29, 2021, at Los Angeles, California.

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                                                     /s/ Shon Morgan
18                                                  Shon Morgan

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                                                        -2-                   Case No.
           DECLARATION OF SHON MORGAN ISO NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
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                   Exhibit 1
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                    Exhibit 2
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                    Exhibit 3
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                    Exhibit 4
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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    08/31/2021
                                                                                                    CT Log Number 540173002
TO:         Greg Packer
            Ancestry.Com Operations Inc.
            1300 W TRAVERSE PKWY
            LEHI, UT 84043

RE:         Process Served in California

FOR:        Ancestry.com Operations Inc. (Domestic State: VA)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  ALICE ZHANG and WAYNE TSENG, individually and on behalf of a class of similarly
                                                  situated persons vs. ANCESTRY.COM OPERATIONS INC.
DOCUMENT(S) SERVED:                               --
COURT/AGENCY:                                     None Specified
                                                  Case # HG21108450
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, GLENDALE, CA
DATE AND HOUR OF SERVICE:                         By Process Server on 08/31/2021 at 15:08
JURISDICTION SERVED :                             California
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     SOP Papers with Transmittal, via UPS Next Day Air , 1ZX212780119433063

                                                  Image SOP

                                                  Email Notification, Greg Packer gpacker@ancestry.com

                                                  Email Notification, Kathleen Mccarthy kmccarthy@ancestry.com

                                                  Email Notification, Alessandra Moore almoore@ancestry.com

                                                  Email Notification, Greg Packer gpacker@ancestry.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  330 N BRAND BLVD
                                                  STE 700
                                                  GLENDALE, CA 91203
                                                  866-539-8692
                                                  CorporationTeam@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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                                                                     l Wolters Kluwer
                                                                   (e/

                             PROCESS SERVER DELIVERY DETAILS




Date:                           Tue, Aug 31, 2021

Server Name:                    Jimmy Lizama




Entity Served                   ANCESTRY.COM OPERATIONS INC.

Case Number                     HG21108450

J urisdiction                   CA




                                                               1
                      Case 3:21-cv-07652-LB Document 1-1 Filed 09/29/21 Page 71 of 116


                                                                                                                                                   SUM-100
                                           SUMMONS                                                                       Brivritt        ruvoity
                                 (CITACION JUDICIAL)
                                                                                                                       FIL8D
 NOTICE TO DEFENDANT:                                                                                             ALAMEDA COUNTY
(A VIS.a AL OEMANDAP0):
 Ancestry.com Operations, Inc. do Registered Agent, CT CORPORATION SYSTEM,330 North
                                                                                                                        AUG1 8-2-021
 Brand Blvd, Glendale CA 91203
 YOU ARE BEING SUED BY PLAINTIFF:                                                                          CLEF1 K 0.,F-ME-S13. AIWA• COURT
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                           -
 ALICE ZHANG.and WAYNE TSENG

  NOTICE! You have been Sued.The court may decide against you Without your being heard unless you respond swthin ao days. Read the information
  below.
     You have 30 CALENDAR DAYS alter this summons and legal papers are served on you to file a written response at this court and have a copy
 served On the plaintiff. A letter or phone call will not protect you, Your written response must be in proper legal form if you want the court to hear your
 case,There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center(www.courtInfo.ce goy/se/theta your county low library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lase the case by deault, and your wages, money, and property may
  he taken without further warning from the coiiW                                                                                                             --




     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www,ffiwhelocaritomia arg), the California Courts Online Self-Help Center
(www:courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association, NOTE:The court has a statutory lien for waived fees and
 Coats on any settlernentor arbitration award of S10,000 or more in a civil case. The courts lien must be paid before the court will dismiss the case.
 fAVISOI Lo hen demandadO. Si no responds denim de 30 dlas, le carte puede deCidir en su contra sin escuchar su version.. Lea to informaciOn a
 continuacion.
     Tlena300/AS OE Ci1LENDARIC despues de quit to entreguen esta citacten y pope/es legates pant presenter tine respuesta pot escrito en esta
 carte y hacerque se entregue tine Copia at dernandente. tine carte o tine liamede telefOnica no/a protegen. Su respuesta par escrito bens Sue ester
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Puede encontrer estos formularies de /a eerie y mas infonnacten en el Centro de Ayuda de los Car/es de California (www.aueorte.ca.gov), en /a
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 Is de tin formulailo de exeneiOn de pego de cuotas. Si no presents su respuesta a tiempo, puede'girder of case por incumplimiento y Is corte Ia padre
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     Hay otros requIsItos legates. Es recomendable qua flame a tin abogado inmedlatamente. SI no conoce a un abogado, puede Samar a W7 servic.lo de
 semis/On a ebogados. S/no puede pagera tin ebogado, as postole qua cumpla con los requisitos pare obtener servicios legatee gretultos de WI
 programa de servIcios regales sin fines do tucro. Puede encontrar estos grupos sin fines de lusty en el sitlo web de California Legal Services,
(www.tewhetpcali(omia.org). en et Centro de Ayuda de Ms Cortes de California, (www.sucorte.ca.gov)o poniendose en contact° con la code o at
 co/ogle de abogados locales.AVISO:Pot ley, la code bane derecho a reclarner las cuotes y los costos orentos par imponer tin grovemen solve
 cuelquierrecuperecien de.510.0000 Inas de 'valor tecibtde mad/ante tin acuerclo o una conceslon de arbltraje en !incase de derecho civil. Ilene qua
pager el gravamen de As code erites de qua le cone puede desecher al caso.
 The name and address of the court Is:                                                                   CASE NUMBER:(NOmero del Case):
(El nombre y direcciOn de to cone es): Hayward Hall of Justice, 24405 Amador Street,                        HG21108450
 Hayward,CA 94544

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney,is:(El nombre, ía dIrecciOn y el nOmero
de telelono del abogado del demendente, o del dernandante quo no tlene abogado, es):
 Micffael-F. Ram, Morgan and Monjan Complex Litigation Group; 711-Van Ness-Ave, Suite-500, San-Francisco, CA-94402                               —
 DATE;
                       AUG 1 8 2021                                       Clerk, by                             JAMIE J. THOMAS (Adjunto)
                                                                                                                                 Deputy
(Fecha)                                                                  (Secretario)
(For proofofservice of this summons, use Proof of Wetemmons(form POS-010).)
(Pam prueba de(Wino de esta citation use el forrnulatio Proof of Service of Summons,(POS-010)).

 (saw
                                      NOTICE TO THE PERSON SERVED: You are served
                                      1. 11 as an individual defendant_
                                      2. 1"--1 as the person sued under the fictitious name of (specify):

                                      3. aal on behalf 01(specify):         Ancestry.com Operations, Inc.
                                           under:7:K CCP 416.10(corporation)                   ti CCP 416.60(minor)
                                                      _CCP 416 70(defunctrArporation)            j CCP 416,70 (izo_nservateo) _
                                                       CCP 416.40 (association or partnership)              f---)
                                                                                                   CCP 416.90 (authorized person)
                                                       other(specify):
                                      4.   r---)by personal delivery on (date):                                                                       !NSW I Oil
 ortn AO059o0 f0rmanosocni Ueo                                         SUMMONS                                                Coda 07 Csyl1Proceduto SS 41520 4611
Judicial Couno;01 California                                                                                                                     www0C1.$15.02C0v
SUM-100 (Roy 01/11( 1.20091
         Case 3:21-cv-07652-LB Document 1-1 Filed 09/29/21 Page 72 of 116



                                                                     ENDORSED
                                                                        FILED
                                                                  ALA MEDA COUNTY
                                                                     A UG 1 6 2021
     Michael F. Ram (SBN 104805)
 2   mram@forthepeople.com
     Marie N. Appel(SBN 187483)                              by
                                                                                               C011
                                                                              ,
 3   mappel®forthepeople.com                                       siANtit Tkom—A-S-7
                                                                                      Deputy
     MORGAN & MORGAN
 4   COMPLEX LITIGATION GROUP
     711 Van Ness Avenue, Suite 500
 5
     San Francisco, CA 94102
 6   Telephone:(415) 358-6913
     Facsimile:(415) 358-6293
 7
   Benjamin R. Osborn (To Be Admitted Pro Hac Vice)
 8 Law Office of Benjamin R. Osborn
   102 Bergen St.
 9
   Brookyn, NY 11201
10 Telephone:(347)645-0464
   Email: ben@benosbornlaw.com
11
   Samuel J. Strauss (To Be Admitted Pro Hac Vice)
12 sam@turkestrauss.com
   TURKE & STRAUSS LLP
13
   613 Williamson Street #201 1 Madison, WI 53703
14 936 N 34th Street #3001Seattle, WA 98103
   Telephone:(608)237-1175
15
   Attorneysfor Plaintiffand the Proposed Class
16

17                         SUPERIOR COURT OF CALIFORNIA

18                                COUNTY OF ALAMEDA

19                                                    Case No.: HG 21 108450
   ALICE ZHANG and WAYNE TSENG,
/0 individually and on behalf of a class of similarly CORRECTED CLASS ACTION
   situated persons,                                  COMPLAINT FOR VIOLATION OF
21                Plaintiffs,                         RIGHT OF PUBLICITY STATUTE;
                                                      COMMON LAW MISAPPROPRIATION
22                                                    OF LIKENESS; INTRUSION UPON
   V.
                                                      SECLUSION; UNFAIR COMPETITION
23                                                    LAW; AND UNJUST ENRICHMENT
   ANCESTRY.COM OPERATIONS INC., a
24 Delaware Corporation,
                  Defendant.                          CLASS ACTION
25
/6

27

28
     CORRECTED CLASS ACTION COMPLAINT FOR VIOLATION OF RIGHT OF PUBLICITY STATUTE AND
                               ADDITIONAL CALIFORNIA LAWS
             Case 3:21-cv-07652-LB Document 1-1 Filed 09/29/21 Page 73 of 116




 1   Factual Allegations

 2          I.      Plaintiffs and members of the proposed class (the "Class") are private individuals

 3   who have no relationship with the Defendant or the website they own and operate called

 4 Ancestry.com.' Plaintiffs and the Class have never used Ancestry.com, nor did they provide their

 5   names, photographs, or any other personal information to Ancestry.

 6          2.      Plaintiffs were seriously distressed to discover that Ancestry is using decades-old

 7 photographs of Plaintiffs and the Class as minor children to advertise paid subscriptions to the

 8   website Ancestry.com.

 9          3.      Plaintiffs and the Class did not consent to Ancestry using their photographs in

10 promoting Ancestry.com subscriptions, nor did they consent to Ancestry sharing their

11   photographs as minors to a worldwide audience on the Internet.

12          4.      Ancestry uses the Plaintiffs' and Class members' likeness in multiple advertising

13 techniques, all of which involve displaying the Plaintiffs' and Class members' photographs in

14 low-resolution or time-limited formats for free. Ancestry promises the viewer that purchasing a

15 paid subscription to Ancestry.com will reveal the full versions of Plaintiffs' and Class members'

16 photographs and personal information. A paid subscription will also deliver many additional

17 services, including the ability to search and view tens of millions of additional photographs and

18 personal information about millions of other individuals.

19          5.      In the first of its advertising techniques, Ancestry provides a publicly accessible

20 landing page on which a visitor may search by name and location for any person. In response to

21   searches for the Plaintiffs' and Class members' names, Ancestry delivers a list of photographs in

22 its possession showing the Plaintiffs' and Class members' faces. Plaintiffs' and Class members'

23 photographs are accompanied by promotional text urging the visitor to "Sign Up Now"for an

24 Ancestry.com subscription. The promotional text promises that "There's more to see" about the

25 Plaintiffs and Class members if the visitor buys a subscription, including higher-resolution

26 photographs and additional personal information about the Plaintiffs and Class members such as

27
   1 Hereafter Plaintiffs refer to the Defendant and the website Ancestry.com collectively as
28 "Ancestry."
                                                 1
     CLASS ACTION COMPLAINT
             Case 3:21-cv-07652-LB Document 1-1 Filed 09/29/21 Page 74 of 116




 1   city of residence, estimated age, and high school graduation year.

 2          6.      In the second advertising technique, Ancestry sends promotional emails and on-

 3 site messages to users who have provided their email addresses to Ancestry but have not yet

 4 purchased a paid subscription plan. These emails and messages use the Plaintiffs' and Class

 5   members' names and identities. For example, Ancestry sent a promotional email to a non-paying

 6 user with the subject line "What should you explore next for Alice Zhang?" A link in the body of

 7 the email encourages the user to click on the name "Alice Zhang" to view records about her.

 8 Users who click the link and attempt to view records about Alice Zhang receive in response a

 9 webpage asking the user to subscribe to Ancestry.com.

10          7.      In the third advertising technique, Ancestry offers a two-week "free trial"

11   membership during which users may access and use the full range of services associated with an

12 Ancestry website subscription. "Free trial" users may search for, view, print, and share the

13 Plaintiffs' and Class members' photographs as minors and personal information including cities

14 of residence, estimated birth years, and graduation dates. Ancestry's sole purpose for using the

15 Plaintiffs' and Class members' photographs and personal information as part of its "free trial"

16 membership is to solicit the purchase of paid memberships.

17          8.      By using Plaintiffs' and Class members' photographs as minor children in its

18 advertising, Ancestry misleads the consuming public into believing Plaintiffs and Class members

19 are Ancestry.com users, willingly uploaded their personal information to Ancestry.com, and

20 endorse Ancestry's subscription product. In fact, Plaintiffs and the Class have no relationship

21   with Ancestry, had no knowledge their photographs as minors were being used, and do not

22 approve of Ancestry's use of their likenesses to advertise Ancestry.com subscriptions.

23 Ancestry's website and advertising communications fail to disclose that Plaintiffs and the Class

24 are unaffiliated with Ancestry.

25          9.      Ancestry does not present the Plaintiffs' and Class members' photographs as

26 "samples" advertising the purchase ofthe photographs themselves. Ancestry uses Plaintiffs' and

27 Class members' names and photographs to advertise subscriptions to Ancestry.com. An

28 Ancestry.com subscription includes far more than access to the Plaintiffs' photographs. At costs
                                                     2
     CLASS ACTION COMPLAINT
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 1   ranging between $24.99 and $49.99 per month, a subscription to Ancestry.com entails a wide

 2 range of services, including the ability to: "Grow a family tree with exclusive search tools";

 3 "Connect with fellow members";"Access 15+ billion records" from the U.S.; "Expand your

 4 search with 3+ billion worldwide records";"Find stores among 142+ million pages in the

 5 Newspapers.com Basic subscription";"Explore 537+ million original military records on

 6 Fo1d3.com"; and "Enjoy premium support with a dedicated 1-800 number."2

 7          10.     Ancestry is the sole author, designer, and implementor of the advertising

 8 techniques and messages giving rise to this lawsuit. Ancestry does not host user-generated

 9 content on any part of the website relevant to this lawsuit. Ancestry is the sole curator, designer,

10 and creator of the content described in this Complaint.

11          1 1.    Plaintiffs do not know how Ancestry obtained their photographs as children.

12 Ancestry's website states that the photographs were originally printed in school yearbooks but

13 does not disclose how Ancestry obtained copies of the Plaintiffs' and Class members' school

14 yearbooks.

15          12.     Ancestry misappropriated Plaintiffs' and Class members' photographs without

16 permission from the Plaintiffs and the Class, the photographers who took the pictures, the

17 authors who created the school yearbooks, or the publishers of the school yearbooks. Ancestry

18 does not hold copyright in Plaintiffs' or Class members' yearbooks, nor does it have permission

19 from the copyright holder to republish or distribute Plaintiffs' or Class members' yearbooks.

20          13.     Consent is not all or nothing. As minors, Plaintiffs and the Class had their

21   photographs taken for school yearbooks intended solely for print distribution among a narrow

22 circle of friends, family, and schoolmates. Plaintiffs' yearbooks were originally produced

23 decades ago when the Internet was in its infancy. Plaintiffs and the Class did not consent to the

24 commercial use oftheir photographs to promote a website, nor to the worldwide distribution of

25 their photographs on the Internet.

26          14.     Ancestry fails to provide any mechanism by which Plaintiffs or the Class may

27

28   2 https://www.ancestry.comics/offers/compare
                                                     3
     CLASS ACTION COMPLAINT
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 1   request that their photographs and personal information be removed from Ancestry's website.

 2 Nor does Ancestry allow Plaintiffs or the Class to opt out of the use of their photographs as

 3 minors in advertisements for subscriptions to Ancestry.com.

 4             15.   California law recognizes the intellectual property and privacy rights of California

 5 citizens in controlling the use of their names,images, and likenesses for commercial purposes.

 6             16.   By using Plaintiffs' and Class members' photographs, names, and personal

 7 information in advertisements for website subscriptions without consent, Ancestry has violated

 8 their intellectual property and privacy rights. Plaintiffs and the Class have the right not to have
 9 their likenesses exploited to promote a product with which they have no relationship and no
10 interest in supporting. Plaintiffs and the Class have an economic interest in their likenesses,
11   which Ancestry has stolen, and a privacy interest in their likenesses, which Ancestry has
12 violated.

13             17.   By these actions, Ancestry has violated the California Right to Publicity, codified
14 in Cal. Civ. Code § 3344; California common law prohibiting misappropriation of likeness;

15 California common law prohibiting intrusion upon seclusion; the California Unfair Competition
16 Law, Cal. Bus. & Prof. Code § 17200 et seq.; and California common law prohibiting unjust

17 enrichment. Plaintiffs and the Class have suffered injury through the unlawful taking of their
18 valuable intellectual property; through the invasion of their privacy rights protected by statute;
19 through Ancestry's unlawful profiting from its exploitation of their personal information; and

20 through mental anguish and harm to peace of mind. Plaintiffs and the Class are entitled to relief

21   including statutory damages, disgorgement of profits, royalties for the use of their likenesses,

22 restitution of the value of their likenesses, an injunction prohibiting Ancestry's unlawful conduct,

23 the award of attorney's fees, expenses, and costs, and declaratory relief.
24
     Parties
25

26             18.   Plaintiff ALICE ZHANG is a citizen of California. She resides in Berkeley,

27 California, in Alameda County. Ms. Zhang has never visited or used the website Ancestry.com.

28 Ms. Zhang attended high school at Albany High School in Albany, California, in Alameda
                                                      4
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 1   County. Ancestry is in possession of at least nine photographs of Ms. Zhang, which it appears to

 2 have acquired from her high school yearbooks, and which it uses to advertise subscriptions to

 3   Ancestry.com without her consent, to her emotional distress.

 4           19.    Plaintiff WAYNE TSENG is a citizen of California. He resides in El Sobrante,

 5 California, in Contra Costa County. Mr. Tseng has never visited or used the website

 6 Ancestry.com. Mr. Tseng attended high school at Albany High School in Albany, California, in

 7 Alameda County. Ancestry is in possession of at least two photographs of Mr. Tseng, which it

 8 appears to have acquired from his high school yearbook, and which it uses to advertise

 9 subscriptions to Ancestry.com without his consent, to his emotional distress.

10           20.    Defendant ANCESTRY.COM OPERATIONS INC. is a Delaware corporation

11   with its headquarters in Lehi, Utah. It conducts business under the brand names "Ancestry.com,"

12 "Ancestry," and other brand names associated with the various website and services it owns and

13 operates.

14          21.     Defendant owns and operate the website www.ancestry.com. Plaintiffs refer to the

15 Defendant and the website it operates as "Ancestry." Ancestry is registered to do business in

16 California and maintains an office at 153 Townsend Street in San Francisco, California with

17 roughly 400 employees. Ancestry conducts business throughout this County, California, and the

18 United States.

19
     Jurisdiction and Venue
20

21          22.     This Court has subject matter jurisdiction over this class action because Plaintiffs

22 assert claims arising under California state law.

23          23.     This Court has personal jurisdiction over Ancestry. Ancestry maintains its

24 second-largest office in San Francisco, California. According to publicly available information,

25 the San Francisco office employs about 400 people, including software engineers, product

26 designers, managers, and other staff. On information and belief, staff at Ancestry's San

27 Francisco office contributed to the strategy, design, creation, and maintenance of the products

28 giving rise to this suit. Ancestry also maintains substantial connections to the state of California
                                                       5
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 1   and this County by, among other things, advertising its subscription products and services to

 2 prospective customers in this state and County, and using the misappropriated names,

 3 photographs, likenesses, images, and identities of residents of this state and County to advertise

 4 website subscriptions.

 5          24.     This Court is a proper venue for this action because Plaintiff Zhang resides in

 6 Alameda County and the harm Ancestry caused by taking her intellectual property and invading

 7 her privacy rights occurred in Alameda County. It is also likely Ancestry reached into this county

 8   when it misappropriated Mr. Teng's and Ms. Zhang's high school yearbooks. Ancestry regularly

 9 conducts business throughout Alameda County.

10 Named Plaintiffs' Fact Allegations

11   Plaintiff Alice Zhang

12          25.     Plaintiff Alice Zhang has no relationship with Ancestry. She has never used

13   Ancestry services.

14          26.     Ms. Zhang did not give consent to Ancestry to use her photographs or likeness in

15 any way.

16          27.     Ancestry is in possession of at least nine photographs depicting Ms. Zhang as a

17 minor. Ancestry uses her photographs to advertise and promote subscriptions to Ancestry.com.

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     CLASS ACTION COMPLAINT
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 1         28.         Ancestry uses Ms. Zhang's photographs in at least three types of advertisements.

 2 First Ancestry provides a publicly accessible landing page on_which_aNisitor-may-search by

 3 name and location for Ms. Zhang:

 4                                                                                                     0
             •F 4 C    • ancesny.convmardt.                                                            3             i


 5                                                                                                         Sign In


6
                                                                   Search
 7
                 First & Middle Name(s)                                   Last Name
 8
                 City, County, State, Country                                             Birth Year
 9

10               Search.         Show more options s,


11            Explore by Location
12               USA      UK &Ireland         Europe            Canada   Australia & NZ

13               U nited States

                 Top Collections:
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 1          29.           Visitors who search for Ms. Zhang receive in response a list of the nine

 2 photographs depicting Ms. Zhang as a minor, Ms. Zhang's age at the time of the photographs

 3 ranges from fifteen to seventeen. Ancestry displays a low-resolution version of each photograph

 4 for free, accompanied by promotional text promising that "There's more to see" about Ms.

 5 Zhang if the user clicks "Sign Up Now." Ancestry promises it has information about her

 6 estimated age and school location, among other things:
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                ancestry               Trees       Search          DNA      Health         Help       Extras                                             Subscribe       Sign In
 8

 9              AU U.S., School Yearbooks.1900:1999_resultsior
10                                 Al       Alice Zhang                                                 NAME:



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25                                                 YEARBOOK DATE                           SCHOOL
                                                   SCHOOL LOCATION

26

27                                                                                     Sign Up Now

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 1

 2          30.            Users who click "Sign Up Now" are shown a payment page soliciting the

 3 purchase of a membership plan for $24.99 per month. The page does not say that users are

 4 paying to access Ms. Zhang's photograph or personal information. The page says that users are

 5 paying to receive a broad range of services, including access to "The world's most

 6 comprehensive record collection" and the ability to create and grow a "family tree":

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26                                    Ancestry malses charting your family history
                                      easier and faster than you ever Imagined.
                                      With an intuitive Interface and Intelligent
27                                    Hints,you'll have guidance every step of the
                                                                                                                                                         (avil•V*16.
                                      way,

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 1
 2

 3        31.       Second, Ancestry sends promotional emails that display Ms. Zhang's name. An

4 example is shown below:

 5
                What should you explore next for Alice Zhang?                                                                                        6
6               Ancestry •sanCtsINeelna4                                                                        ro Jul te. 1205 P015 der,000.)   *



 7
                                            $00101, On Ancestry° may Win you Mall TWO liSCOMOnOS
                                           Look deeper

 8
                                              ancestry.
9

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12

13                                               There's still more to discover.
                                           You've started to uncover the story of Alice Zhang—what will you end next?
                                               Here's a recorrvnendation we found just tor you to jump start brand-
14                                                                       new discoveries.



15
                                                                     Alice Zhang
16                                                                   is missing details about their marriage.


                                                                      •   Visitor;.niar;irfg o i   ords
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 1          32.              Ancestry sends this and similar emails bearing Ms. Zhang's likeness to users who

 2 have not yet purchased a paid subscription plan and who Ancestry believes may be interested in

 3 Ms. Zhang's personal information. Users who click on Ms. Zhang's name and attempt to review

 4 records about Ms. Zhang receive a web page soliciting a subscription to Ancestry.com at prices

 5 ranging from $24.99 to $49.99 per month:

 6

 7

 8         Try us FREE for 14 days.t
           Trace your family tree with millions of fascinating records.
 9         Pick the membership below for your 14 day free trial.

10
                                                                                              MOST POPULAR

11                                                                                        World Explorer                                     All Access
                                             U.S. Discovery
                                                                                   Access all U .& rnternabonal records           Get full membership to: Ancestry.com,
                                       Access all U.S. records on Ancestry
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13                    Monthly
            Auto Renewing,
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15                   6 month           ' 1650                                              2483                                 0s3316
                 or pay upfront        - per month'                                 •      per month°                                     per month'
16                                         SAVE $S0*                                     SAVE $90*                                      SAVE $100*

17                                                                                                                                           into Renewing CancelArky •ne



18
              You are committing to a six.month subscription, but you will be billed on a monthly basis. If you cancel before the end of your subscription,an early
19            termination fee of up to $25 may apply. See our Renewal and Cancellation Terms for more details.


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 1          33.        Third, Ancestry allows users who have not yet signed up for a paying subscription

 2 to search for and view Ms. Zhang's photograph as part of a two-week "free trial" membership.

 3 One of the photographs portraying Ms. Zhang that Ancestry offers as part of its "free trial" is

 4 shown below:

 5
                 ancestry       Trees   Search   DNA   Health    Help    Extras                       Upgrade      0   km n
 6
                                                                                           Save v          Print   Share v

 7
                                                       Alice Zhang
                                             in the U.S., School Yearbooks,1900-1999
 8

 9                                                                                Detail   Source


10                                                                       Name: Alice Zhang
                                                                 Estimated Age: 16
11                                                                   Birth Year: abt 1982
                                                                 Yearbook Date: 1998
12
                                                                        School: Albany High School

13                                                              School Location: Albany, California, USA

                                                                                     Save v
14           A   Add or update information

             A Report a problem
15

16

17          34.        Ancestry's sole purpose in using Ms. Zhang's photograph, name, and personal

18 information as part of its "free trial" membership is to solicit the purchase of paid memberships
19 from its "free trial" members.
20          35.        Ms. Zhang does not know how Ancestry obtained her photographs as a minor

21   child between the ages of fifteen and seventeen. The photographs appear to have been stolen

22 from the yearbooks Ms. Zhang's high school produced for students and family in the years 1997,

23   1998, and 1999.

24          36.        Ancestry appropriated Ms. Zhang's photographs without permission from Ms.

25 Zhang, the photographer who took her pictures, the authors who created her high school

26 yearbooks, or the publishers of her high school yearbooks. Ancestry does not hold copyright in

27 yearbooks from Ms. Zhang's high school(Albany High School in Albany, California), nor does

28 it have permission from the copyright holder to republish or distribute the yearbooks or the
                                                                    12
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 1   photographs contained therein.

 2           37.     Ms. Zhang has intellectual property and privacy_interests_in_her-photograph;

 3 name, and likeness recognized by California statutory law. She has the right to exclude anyone

 4 from making commercial use of her likeness without her permission.

 5           38.     Ancestry has injured Ms. Zhang by taking her intellectual property without

 6 compensation; by invading her privacy rights protected by statute and by California common

 7 law; and by =lawfully profiting from its exploitation of her personal information.

 8          39.      Ms. Zhang is indignant and disgusted by Ancestry's violation of her privacy while

 9 profiting from the illegal use of her photos as a minor. Ms. Zhang is deeply disturbed by

10 Ancestry's use of her name and photographs without her consent. She believes her likeness is

11   rightly hers to control. Ancestry's illegal use has left her worried about her inability to control

12 how her name and likeness is used. Ms. Zhang feels that Ancestry's use of her photographs,

13 revealing intimate moments of her at choir practice and playing powder puff football at

14 homecoming, represents an alarming invasion of her privacy and makes her vulnerable to

15 identity theft. She believes Ancestry's use of her photos as an adolescent in ads to promote

16 subscriptions encourages and enables stalking and pedophilic behaviors.

17 Plaintiff Wayne Tseng

18
            40.      Plaintiff Wayne Tseng has no relationship with Ancestry. He has never used
19
     Ancestry services.
20
            41.      Mr. Tseng did not give consent to Ancestry to use his photographs or likeness in
21
     anyway.
22
            42.      Ancestry is in possession of at least two photographs of Mr. Tseng depicting him
23
     as a minor. Ancestry uses his photographs to advertise and promote subscriptions to
24
     Ancestry.com.
25
            43.      Ancestry uses Mr. Tseng's photographs in at least three types of advertisements.
26
     First, Ancestry provides a publicly accessible landing page on which a visitor may search by
27
     name and location for Mr. Tseng. See 1128 above.
28
                                                       13
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 1         44.           Visitors who search for Mr. Tseng receive a list of records corresponding to Mr.

                                           _ Mr. Tseng as_a minor. Mr. Tseng-is sixteen years
 2 Tseng, including two photographs depicting

 3 old at the time ofthe photograph. Ancestry displays a low-resolution version of the photograph

 4 for free, accompanied by promotional text promising that "There's more to see" about Mr. Tseng

 5 if the user clicks "Sign Up Now." Ancestry promises it has information about his estimated age

 6 and school location, among other things:
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 9                                    {                                                                    NAME:   Wayne Tseng
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10                                  Wa                                                                         There's more to see
                                                                                                          A picture of the original document

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14                                                                   1-2 of 2
                                                                                               YEARBOOK DATE                SCHOOL

                 Edit Search I New                                                             SCHOOL LOCATION

15               Search I

                   Update                                                                                              Sign Up Now
16

17           v All Categories
           13221==

18
                                                                     "ME'         Wayne Tseng
19
                                            LI
20                                          3                                  There's more to see
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 1         45.     Users who click "Sign Up Now" are shown a payment page soliciting the

2 purchase of a membership plan for $24.99 per month. The page does not say that users are

 3 paying to access Mr. Tseng's photograph or personal information. The page says that users are

4 paying to receive a broad range of services, including access to "The world's most

5 comprehensive record collection" and the ability to create and grow a "family tree". See ¶ 30

6 above.

7          46.     Second, Ancestry sends promotional messages called "Hints" that display Mr.

8 Tseng's photograph, name, and other personal information including his current city of residence

9 and birth date. Three examples of such "Hints," displayed as on-site messages, are shown below:
                                                                            LifeStory      Facts    Gallery      Hints
10
                 AP New 0        Undecided 0        Ignored 0        Accepted 0
11

12
                 • California Birth Index, 1905-1995 Source Info                                                  Quick Compare   c)
                  Birth, Marriage & Death

                   Name          Wayne Leasing Tseng                                                                          Different
13
                   Birth         21 Aug 1983 San Francisco, California                                                       Different
                               _   _

14                                                                                                                Review     Ignore


15                                                                                                                                ._

                 • U.S.,Index to Public Records,1994-2019 Source Info                                             Quick Compare   al
16                Directories & Member Lists

                   Name           Wayne L Tseng                                                                               Different
17                                Aug 1983                                                                                   Different
                   Birth
                   Residence      2001-2020 El Sobrante,California, USA                                                       New
18                 Residence      2008-2019 El Sobrante,California, USA                                                       New

                   Residence      Richmond, California, USA                                                                   New
19
                                                                                                                  Review     Ignore
20

21               • U.S., School Yearbooks, 1900-1999 Sotnce Info                                                  Quick Compare all
                  Directories & Member Lists
22                                      Name        Wayne L Tseng                                                             Different
                                        Birth       abt 1983                                                                  Different
23                                      Residence   1999 Albany,California, USA                                               New


24
                                                                                                                  Review     Ignore
25
                                                         Didn't find what you're looking for?
26
                                       Discover more about Wayne Tseng. Or you can view hints for other in your tree.

27

28
                                                                           15
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 1          47.    Ancestry sends this and similar messages bearing Mr. Tseng's likeness to users

 2 who have not yet purchased a paid subscription plan and who Ancestry believes may be

 3 interested in Mr. Tseng's personal information. Users who click to "Review" any of the records

 4 see a message indicating that Ancestry has additional information about Mr. Tseng and

 5   prompting the user to "save" the information about Mr. Tseng "to your tree."

 6

 7
                                 Step 1: Evaluate record
 8
                                 This record may contain relevant information for
 9                               a person in your tree.


10                                                                                      •••
                                                 Wayne L Tseng in the

11                                               U.S., School
                                                 Yearbooks,1900-
12                                               1999
13
                                             o Compare details
14                                             Name     Wayne L Tseng

15                                    Estimated Age     age

                                           Birth Year   year
16
                                      Yearbook Date     year
                                           ----••_      •.•    --- •


17                                            School    township

                                    School Location     city, California, USA
18                                                                     •^_.•_-_-._
                                                                       .



                                 View record page for additional details, certificate
19                               purchase,suggested records,or to report an issue.

                                 Ancestry.com. U.S., School Yearbooks, 1900-1999
20
                                 Would you like to save this information to your
21                               tree?

                                       Yes                    No             Maybe
22

23

24

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                                                               16
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 1          48.        Clicking any of the links in the message, including the large green button marked

 2 "Yes," brings the user to a web page soliciting a subscription to Ancestry.com at prices ranging

 3 from $24.99 to $49.99 per month:

 4                                 x

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 5                                                                        ,
                                                                         MOST POPULAR
 6                                                                                                                     All Access
                                       U.S. Discovery                 World Explorer                                Get full membership to:
                                       Access all U.S. records on
 7                                             Ancestry
                                                                    Access all U.S.& international                Ancestry.com, Fold3.com,&
                                                                        records on Ancestry                         Newspapers.com Basle

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               Cancel Anytime.
                                       '2499                         '3999                                        '4999
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                                       '165°                        02483                                            $'/316
11                   6 month
                                           per month°                     per month°                                   per month°
                  or pay upfront
12                                       SAVE $50*                      SAVE $90*                                    SAVE $100*

13                                                                                                                  Auto Renewing, CancelAnytime.


14                Start free trialt


15

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 1          49.    Ancestry also sends emails bearing Mr. Tseng's likeness to users who have not

 2 yet purchased a paid subscription plan and who Ancestry believes may be interested in Mr.

 3 Tseng's personal information. An example is shown below:

 4
                   You have a vital redords•hint
 5
                   From: Ancestry (aneestry@eniail.
                                                  'ancestivorn)
                   To:,   sally.t.seng@yahcio.cork
 6
                   Date: Thursday, July 29; 2021,•04:04 AM EDT

 7
                          ef External images are now more secure, and shown by, default. Change in Settings

 8
                             4).1 ancestry*
 9
10

11

12
                                One of your hints comes from our collections
13                                of birth, marriage, and death records!
                                           Discover the fundamental elements of your family history
14                                                          with these vital records.

15                                                                 View your hint

16
                                           Sally, explore this week's Ancestry Hints:.
17

18                                                                Wayne Tseng
                                                                     (1982 -)
19                                                    California 'Birth Index, 1905-1995

20                                                                See your hint

21

22
            50.    Clicking any ofthe links in the email, including the green button marked "See
23

24 your hint" directly below Mr. Tseng's name and birth date, opens a web page soliciting a

25 subscription to Ancestry.com at prices ranging from $24.99 to $49.99 per month. See ¶ 48 above.

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 1          51.                Third, Ancestry allows users who have not yet signed up for a paying subscription

 2 to search for and view Mr. Tseng's photograph as part of a two-week "free trial" membership.

 3 One of the photographs portraying Mr. Tseng that Ancestry offers as part of its "free trial" is

 4 shown below:

 5                 US.10.41,2Ft.oti UN ITh F,   X     +

              E-    4    C.:   i   ancestry convti,       no,to ve ,•11116a.1 F ¶711'ph,-qhfc,Xi }FF,(4,1 sun es'• art•FFY ;fh.•   11.A.)
                                                                                                                                       ,  •..F,"'FX'.FFFFX.•                       n



 6           ,Mancestry                         Trees     Search         DNA        Health         Help        Extras                                          Upgrade   0     (n)
 7                                                                                                                                        Save v                Print    Share v


 8                                                                                 Wayne Tseng
                                                                  in the U.S., School Yearbooks,1900-1999
 9
                                                                                                                            Detail        Source
10
                                                                                                                 Name: Wayne Tseng

11                                                                                                    Estimated Age: 16
                                                                                                            Birth Year: abt 1982
12                                                                                                    Yearbook Date: 1998

                                                                                                               School:       Albany High School
13
                                                                                                   School location: Albany, California, USA

14                                                                                                                                 Save v
               tf Add or update information

15             A        Report a problem


16

17          52.                Ancestry's sole purpose for using Mr. Tseng's photograph, name, and personal
18 information as part of its "free trial" membership is to solicit the purchase of paid memberships
19 from its "free trial" members.

20          53.                Mr. Tseng does not know how Ancestry obtained his photograph as a minor child,
21   aged sixteen. The photographs appear to have been stolen from the yearbook Mr. Tseng's high
22 school produced for students and family in 1998.

23          54.                Ancestry appropriated Mr. Tseng's photograph without permission from Mr.
24 Tseng, the photographer who took her picture, the authors who created his high school yearbook,

25 or the publisher of his high school yearbook. Ancestry does not hold copyright in yearbooks

26 from Mr. Tseng's high school(Albany High School in Albany, California), nor does it have

27 permission from the copyright holder to republish or distribute the yearbooks or the photographs

28
                                                                                                        19
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 1   contained therein.

 2          55.     Mr. Tseng has intellectual property and privacy interests in his photograph, name,

 3 and likeness recognized by California statutory law. He has the right to exclude anyone from

 4 making commercial use of his likeness without his permission.

 5          56.     Ancestry has injured Mr. Tseng by taking his intellectual property without

 6 compensation; by invading his privacy rights protected by statute and by California common

 7 law; and by unlawfully profiting from its exploitation of his personal information.

 8          57.     Ancestry's illegal actions caused Mr. Tseng mental anguish and harmed his peace

 9 of mind. Upon learning about Ancestry's actions, Mr. Tseng was upset and disturbed by

10 Ancestry's use of his name and photograph without his consent. Mr. Tseng believes his likeness

11   is rightly his to control. Ancestry's illegal use has left him worried and uncertain about his

12 inability to control how his name and likeness is used. Mr. Tseng feels that Ancestry's use of his

13 photograph represents an alarming invasion of his privacy. Mr. Tseng feels deeply

14 uncomfortable in the knowledge that Ancestry is distributing his name and photographs as a

15 child publicly on the Internet to a worldwide audience.

16 Class Action Allegations

17          58.     Plaintiffs assert claims on behalf of themselves and a class of similarly-situated

18 persons pursuant to Cal. Code Civ. P. § 382.

19          59.     Plaintiffs bring this Complaint on behalf of themselves and a proposed class of all

20 California residents(1) whose names, photographs, and/or likenesses are being used by Ancestry

21   to advertise website subscriptions,(2) who are not users of Ancestry services, and (3) who did

22 not consent to Ancestry's use (the "Class"). Excluded from the Class are (a)Plaintiffs' counsel,

23 (b) Ancestry, its officers and directors, counsel, successors and assigns,(c) any entity in which

24 Ancestry has a controlling interest, and (d)the judge to whom the case is assigned and the

25 judge's immediate family.

26          60.      Plaintiffs propose certification of all issues, while reserving the right to

27 alternatively seek certification as to any specific claim or issue.

28          61.     Plaintiffs would serve as Class representatives.
                                                      20
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 1         62.   Plaintiffs satisfy the requirements Code of Civil Procedure § 382:

 2               a.         Numerosity — The Classis_sanumerous-that-joinder is impracticable: -

 3                          Based on a search of its website, Ancestry is in possession of roughly 60

 4                          million photographs and names taken from yearbooks of California

 5                          schools. Ancestry uses all the photographs in its possession to advertise its

 6                          subscription services.

 7               b.         Commonality — There are numerous common questions of law and fact,

 8                          including but not limited to the following:

 9                     i.          Whether, before taking Class members' photographs as minors

10                                 from yearbooks and other sources, Ancestry sought and obtained

11                                 the consent required by Cal. Civ. Code § 3344 and California

12                                 common law prohibiting misappropriation of likeness;

13                                 Whether Ancestry's use of Class members' photographs as minors

14                                 and personal information in a search function made available to the

15                                 public, accompanied by on-site messages urging the viewer to

16                                 purchase a subscription, violates California law;

17                                 Whether Ancestry's sending of promotional emails and messages

18                                 containing Class members' names, photographs as minors, and

19                                 personal information, and encouraging the recipient to purchase a

20                                 subscription to Ancestry.com, violates California law;

21                    iv.          Whether Ancestry is the author responsible for the advertisements

22                                 giving rise to this claim, or whether instead the advertisements

23                                 were created and posted by Ancestry users;

24                    v.           Whether Ancestry obtained copyright license or permission from

25                                 copyright holders before taking photographs from yearbooks and

26                                 other sources and incorporating the photographs into its

27                                 advertisements;

28                    vi.          Whether Ancestry's actions violate the Class members' reasonable
                                                     21
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 1                                privacy expectations, given that its use of their personal

 2                                information is in violation of numerous California laws including

 3                                the California Consumer Privacy Act, § 1798.100 et seq.;

 4                    vii.        Whether Class members are entitled to statutory damages;

 5                    viii.       Whether Class members are entitled to compensatory damages for

 6                                the mental anguish Ancestry's actions caused;

 7                     ix.        Whether Class members are entitled to disgorgement of Ancestry's

 8                                profits earned from its use of their likenesses;

 9                      x.        Whether Class members are entitled to restitution in the form of

10                                royalties for the unauthorized use of their likenesses;

11                     xi.        Whether Class members are entitled to injunctive and declaratory

12                                relief.

13               c.       Typicality — Plaintiffs' claims are typical of those of the Class. Ancestry

14                        is using Plaintiffs' photographs, which it stole from their school

15                        yearbooks, to advertise subscriptions without their consent. The same fact

16                        pattern is true for absent Class members.
17               d.       Adequacy — Plaintiffs would adequately protect the Class's interests.

18                        Plaintiffs have a genuine interest in protecting the rights of the Class.

19                        Plaintiffs' counsel is experienced in handling complex class actions.

20                        Plaintiffs' counsel have been designated and approved as class counsel in

21                        numerous state and federal courts, including in actions concerning

22                        consumer rights.

23               e.       There is a well-defined community of interest among Class members, and

24                        the disposition of the claims of these Class members in a single action will

25                        provide substantial benefits to all parties and to the Court.

26              f.        Predominance — The answers to the common questions in this case will

27                        decide liability for the entire class. If Ancestry violated Plaintiffs' privacy

28                        and intellectual property rights by using their photographs in
                                                    22
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 1                          advertisements without consent, and owe statutory and other damages as a

 2                          result, the Ancestry is liable to the absent Class members as well.

 3                          Therefore, common issues predominate over any individual issues.

 4                   g.     Superiority — A class action is superior to other available remedies. The

 5                          common questions would predominate over any individual questions, and

 6                          no other form of litigation could be superior to a class action. Because of

 7                          the low dollar amounts at stake for each Class member, a class action is

 8                          the only way for Plaintiffs and other Class members to obtain redress.

 9                          Moreover, the most efficient way to resolve the class's claims is for a

10                          court to decide all claims in a single class. Requiring millions of Class

11                          members to individually litigate their claims in various courts would be
12                          inefficient and would create the possibility of inconsistent judgments or
13                          conflicting declaratory and injunctive relief.

14                                   FIRST CAUSE OF ACTION
                  (Violation of California Right of Publicity — Cal. Civ. Code § 3344)
15
            63.     Plaintiffs incorporate by reference the allegations contained in all preceding
16
     paragraphs of this Complaint.
17
            64.     California's Right ofPublicity Statute, California Civil Code § 3344, prohibits the
18
     use of a "name, voice signature, photograph, or likeness, in any manner, on or in products. . . or
19
     for purposes of advertising or selling. . . products, merchandise, goods or services, without such
20
     person's prior consent."
21
            65.     Ancestry violated California's Right of Publicity statute by taking Plaintiffs' and
22
     Class members' photographs as minors and personal information from school yearbooks and
23
     other sources without consent, and knowingly using their photographs and personal information
24
     to advertise paid subscriptions to its website service.
25
            66.     Cal. Civ. Code § 3344 provides that a person who violates the statute "shall be
26
     liable for any damages sustained.""In addition," the violator is liable for statutory damages "in
27
     an amount equal to the greater of seven hundred fifty dollars($750) or the actual damages
28
                                                      23
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 1   suffered." The violator is also liable for "any profits from the unauthorized use that are

 2 attributable to the use."

 3          67.     Plaintiffs on behalf ofthe Class seek statutory damages, compensatory damage

4 for mental anguish, compensatory damages for the unauthorized taking oftheir intellectual

 5 property, and disgorgement ofthe unauthorized profits Ancestry earned from its use oftheir

6 likenesses, as provided for by Cal. Civ. Code § 3344. Plaintiffs also seek nominal damages,

 7 declaratory relief, and injunctive relief. Plaintiffs also seek punitive damages and the award of

8 attorneys' fees and costs as allowed under § 3344(a).
9           68.     Each use of a Class member's name, photograph, or likeness to advertise

10 Ancestry subscriptions is a distinct violation of Cal. Civ. Code § 3344 giving rise to damages.

11                                 SECOND CAUSE OF ACTION
                (Violation of California Common Law Misappropriation of Likeness)
12
            69.     Plaintiffs incorporate by reference the allegations contained in all preceding
13
     paragraphs of this Complaint.
14
            70.     California's common law right of privacy recognizes a cause of action for
15
     misappropriation of likeness. A cause of action arises based on "(1)the defendant's use of the
16
     plaintiff's identity;(2)the appropriation of plaintiff's name or likeness to defendant's advantage,
17
     commercially or otherwise;(3)lack of consent; and (4)resulting injury." Laws v. Sony Music
18
     Entertainment, Inc., 448 F.3d 1134, 1138 (9th Cir. 2006)(quoting Eastwood v. Superior Court,
19
     149 Cal. App. 3d 409, 417(1983).
20
            71.     Ancestry violated California's common law prohibiting misappropriation of
21
     likeness by taking Plaintiffs' and Class members' photographs as minors and personal
22
     information from school yearbooks and other sources without consent and using their
23
     photographs and personal information to advertise paid subscriptions to its website service.
24
            72.     Ancestry's actions caused at least two forms of resulting injury recognized by
25
     common law. First, by taking and exploiting Plaintiffs' and Class members' likenesses without
26
     permission, Ancestry violated and infringed Plaintiffs' and Class members' intellectual property
27
     rights. Second, Ancestry caused mental anguish and injury to Plaintiffs' and Class members'
28
                                                      24
     CLASS ACTION COMPLAINT
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 1   peace of mind.

 2          73.     Plaintiffs on behalf_of_the-Class-seek-compensatory-damage-for mental anguish,

 3 compensatory damages for the unauthorized taking of their intellectual property, and
 4 disgorgement of the unauthorized profits Ancestry earned from its use oftheir likenesses.

 5 Plaintiffs also seek nominal damages, declaratory relief, and injunctive relief

 6                                   THIRD CAUSE OF ACTION
                        (Violation of California Intrusion Upon Seclusion Law)
 7
            74.     Plaintiffs incorporate by reference the allegations contained in all preceding
 8
     paragraphs of this Complaint.
 9
            75.     California's common law right of privacy recognizes a cause of action for
10
     intrusion upon seclusion. A cause of action arises has two elements: "First, the defendant must
11
     intentionally intrude into a place, conversation, or matter as to which the plaintiff has a
12
     reasonable expectation of privacy. Second, the intrusion must occur in a manner highly offensive
13
     to a reasonable person." Hernandez v. Hillsides, Inc., 47 Cal. 4th 272, 286(2009).
14
            76.     Plaintiffs and the Class have a reasonable expectation of privacy in their
15
     photographs as minors and personal information. Plaintiffs and Class members arguably
16
     consented as minors to have their photographs taken for yearbooks intended for distribution in
17
     print form among their schoolmates and families. Plaintiffs and the Class did not consent to, and
18
     reasonably expected not to experience, the worldwide distribution of their photographs as minors
19
     on the Internet in advertisements for Ancestry.com subscriptions.
20
            77.     Ancestry intentionally intruded upon the seclusion of Plaintiffs and the Class by
21
     taking their photographs as minors from yearbooks without permission and using those
22
     photographs to sell Ancestry.com subscriptions. This intrusion revealed private facts in which a
23
     reasonable person would expect privacy.
24
            78.     Ancestry's actions were highly offensive to a reasonable person. A reasonable
25
     person would not expect to see decades-old photographs of themselves as minors distributed
26
     worldwide on the Internet and exploited for a company's financial gain.
27
            79.     The highly offensive nature of Ancestry's actions, and the reasonability of
28
                                                      25
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 1   Plaintiffs' expectations of privacy, are both underscored by the fact that Ancestry's use of

 2 Plaintiffs' personal information is in clear violation of the California Consumer Privacy Act, §

 3   1798.100 et seq.

 4          80.     The California Consumer Privacy Act("CCPA")provides that a "business that

 5 controls the collection of a consumer's personal information" must before collecting any

 6 personal information "inform consumers of" the collection. Cal. Civ. Code § 1798.100. The

 7 business must also "disclose" to the consumer "the consumer's rights to request deletion of the

 8 consumer's personal information." Id. § 1798.105. A business that "sells personal information

 9 about a consumer" must also provide a means by which the consumer may "at any time...

10 direct [the] business . . . not to sell the consumer's personal information." Id. § 1798.120.

11          81.     Ancestry failed to inform Plaintiffs and Class members that it collected their

12 personal information. Ancestry failed to disclose to and provide Plaintiffs and the Class their

13 right to request deletion of their photographs and personal information. Ancestry failed to

14 provide Plaintiffs and the Class a means of opting out of the sale of their photographs and

15   personal information on Ancestry's website. Ancestry's actions are therefore in clear violation of

16 multiple provisions of CCPA.

17          82.     Plaintiffs and Class members could reasonably expect Ancestry not to engage in

18 privacy violations clearly prohibited by California statutory law.

19          83.     Plaintiffs and the Class were harmed by Ancestry's intrusion upon their seclusion

20 as detailed in this Complaint.

21          84.     Plaintiffs on behalf of the Class seek compensatory damage for the mental

22 anguish and lost peace of mind they suffered, including punitive damages in light of Ancestry's

23 conscious disregard of Plaintiffs' and Class members privacy rights and exploitation of their

24 personal information for profit. Plaintiffs also seek nominal damages, declaratory relief, and

25 injunctive relief.

26          85.     Defendant has been guilty of oppression, fraud, and/or malice and despicable

27 conduct warranting an award of exemplary and/or punitive damages under the provisions of Cal.

28 Civ. Code § 3294. The foregoing conduct has been approved, authorized and/or ratified by each
                                                     26
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 1   Defendant's officers, directors and/or managing agents as required by the provisions section

 2 3294.
                                  FOURTH CAUSE OF ACTION
 3
                          (Violation of California Unjust Enrichment Law)
 4          86.     Plaintiffs incorporate by reference the allegations contained in all preceding
 5   paragraphs of this Complaint.
 6          87.     Plaintiffs and the Class have conferred an unwarranted benefit on Ancestry.
 7 Without permission or compensation, Ancestry took Plaintiffs' and Class members' likenesses

 8 and used them to sell subscriptions to Ancestry.com. Each subscription an Ancestry user

 9 purchased after viewing Plaintiffs' or Class members' photographs or likenesses, or after

10 receiving an email or message containing such photographs or likenesses, represents an

11   unwarranted benefit conferred by the class.
12          88.     Under principles of equity and good conscience, Ancestry should not be permitted
13 to retain the benefits it gained because of its actions.

14          89.     Plaintiffs and members of the Class have suffered economic loss and injury as a
15 direct result of Ancestry's conduct, as described in this Complaint.

16          90.     Plaintiffs on behalf of the Class seek the imposition of a constructive trust and
17 restitution of proceeds Ancestry received as a result of the conduct described in this complaint,

18 as well as an award of attorneys' fees, costs, and interest pursuant to Cal. Civ. Proc. Code §

19 1021.5.

20                                 FIFTH CAUSE OF ACTION
                    (Violation of UCL - Unlawful and Unfair Business Practices)
21
            91.     Plaintiffs incorporate by reference the allegations contained in all preceding
22
     paragraphs of this Complaint.
23
            92.     California Business and Professions Code §17200 et seq. prohibits acts of unfair
24
     competition, which include unlawful and unfair business practices, each of which is separately
25
     actionable.
26
            93.     Ancestry acted unlawfully and unfairly by taking millions of Class members'
27
     photographs as minors without consent and distributing those photographs worldwide on the
28
                                                     27
     CLASS ACTION COMPLAINT
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 1   Internet in advertisements promoting subscriptions to the Ancestry website.

 2          94.     Ancestry's actions are unlawful because they violate California's Right of

 3 Publicity (Cal. Civ. Code § 3344); California privacy law prohibiting misappropriation of

 4 likeness; California privacy law prohibiting intrusion upon seclusion; and California unjust

 5 enrichment law.

 6          95.     Ancestry's actions are unfair because they are immoral, unethical, oppressive,

 7 unscrupulous and substantially injurious to Plaintiffs and the class. The financial injury to

 8 Plaintiffs and the Class by Ancestry's conduct outweighs any alleged countervailing benefit.
 9          96.     Plaintiffs and the Class could not have avoided this injury because Ancestry failed
10 to solicit their consent. Ancestry fails to provide any means by which Plaintiffs or the Class may

11   request deletion of their photographs and personal information from Ancestry's website.
12          97.     Plaintiffs and the Class members suffered an economic injury and lost property

13 due to Ancestry's unlawful and unfair conduct. Plaintiffs have a property interest in their
14 personal data, and an intellectual property interest in the use of their likenesses, both of which

15 are recognized by California law. By using and distributing their photographs and personal
16 information for commercial gain without consent, Ancestry took property belonging to Plaintiffs

17 and the Class and caused them economic injury.

18          98.     To this day, Defendant has engaged and continues to engage in unlawful and

19 unfair business practices by continuing to use Plaintiffs' and Class members' photographs and

20 personal information without consent.

21          99.     As a proximate result of its unlawful and unfair practices, Defendant has been

22 unjustly enriched and should be required to make restitution to the Plaintiffs and Class members

23 pursuant to §§ 17203 and 17204 of the California Business & Professions Code.
24                                            Relief Requested

25          Plaintiffs ask this Court to:

26                  a.      certify this action as a class action, including certifying Plaintiffs as Class

27                          representatives and undersigned counsel as Class counsel;

28                  b.      grant judgment as a matter oflaw in favor of Plaintiffs and the Class on
                                                      28
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 1                          any or all issues or, in the alternative, hold a trial to decide any disputed

 2                         fact questions;

 3                 c.       issue an injunction prohibiting Ancestry from continuing to advertise its

 4                         subscription product using Plaintiffs' and Class members' photographs as
 5                          minors;

 6                 d.       issue an injunction requiring Ancestry to comply with the requirements of

 7                          the California CCPA by notifying California residents it is selling and

 8                          using their personal information, and providing California residents an

 9                         opportunity to opt out;

10                 e.       award Plaintiffs and the Class any statutory damages, actual damages,

11                          unjust profits, restitution, and other monetary relief they are entitled to;

12                 f.       award attorneys' fees and costs to Plaintiffs and the class;

13                 g.       and order any other relief as the Court may deem proper and just.

14 Dated: August        ,2021                      By:             /s/ Michael F. Ram
                                                                   Michael F. Ram
15
                                                            Michael F. Ram(SBN 104805)
16                                                          mram@forthepeople.com
                                                            Marie N. Appel(SBN 187483)
17                                                          mappel@forthepeople.com
                                                            MORGAN & MORGAN
18                                                          COMPLEX LITIGATION GROUP
                                                            711 Van Ness Avenue, Suite 500
19
                                                            San Francisco, CA 94102
20                                                          Telephone:(415)358-6913
                                                            Facsimile:(415) 358-6293
21
                                                            Benjamin R. Osborn
22                                                         (To Be Admitted Pro Hac Vice)
                                                            Law Office of Benjamin R. Osborn
23
                                                            102 Bergen St.
24                                                          Brookyn, NY 11201
                                                            Telephone:(347)645-0464
25                                                          Email: ben@benosbornlaw.com

26                                                          Samuel J. Strauss
                                                           (To Be Admitted Pro Hac Vice)
27
                                                            sam@turkestrauss.com
28                                                          TURKE & STRAUSS LLP

                                                      29
     CLASS ACTION COMPLAINT
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      1                                          613 Williamson Street #201
                                                 Madison, WI 53703
      2                                          936 N 34th Street #300
                                                 Seattle, WA 98103
      3                                          Telephone:(608)237-1175
     4
                                                 Attorneysfor Plaintiff
     5                                           and the Proposed Class

     6

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                    Exhibit 7
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                    Exhibit 9
     Case 3:21-cv-07652-LB Document 1-1 Filed 09/29/21 Page 114 of 116




 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Shon Morgan (Bar No. 187736)
 2  (shonmorgan@quinnemanuel.com)
    John W. Baumann (Bar No. 288881)
 3
    (jackbaumann@quinnemanuel.com)
 4 865 South Figueroa Street, 10th Floor
   Los Angeles, California 90017
 5 Telephone:    (213) 443-3000
   Facsimile:    (213) 443-3100
 6

 7   Cristina Henriquez (Bar No. 317445)
     (cristinahenriquez@quinnemanuel.com)
 8 555 Twin Dolphin Drive, 5th Floor
   Redwood Shores, California 94065
 9 Telephone:      (650) 801-5000
   Facsimile:      (650) 801-5000
10
   Attorneys for Defendant ANCESTRY.COM
11 OPERATIONS INC.

12
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
13
                                        COUNTY OF ALAMEDA
14

15
   ALICE ZHANG and WAYNE TSENG,                     CASE NO. HG21108450
16
   individually and on behalf of a class of
17 similarly situated persons,                      NOTICE TO ADVERSE PARTY OF
                                                    REMOVAL OF ACTION TO FEDERAL
18                Plaintiffs,                       COURT
19         vs.                                      Dept.: 21
20
   ANCESTRY.COM OPERATIONS INC., a
21 Delaware Corporation

22                Defendant.
23

24

25

26

27

28

                                                                          Case No. HG 21108450
                                NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT
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 1         TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:

 2         PLEASE TAKE NOTICE that a Notice of Removal of this action was filed in the United

 3 States District Court for the Northern District of California on September 29, 2021. A true and

 4 correct copy of said Notice of Removal is attached to this Notice as Exhibit A.

 5

 6 DATED: September 29, 2021                 QUINN EMANUEL URQUHART &
                                             SULLIVAN, LLP
 7

 8

 9                                           By
                                                   Shon Morgan
10                                                 Attorneys for Defendant Ancestry.com
11                                                 Operations Inc.

12

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                                                     2                          Case No. HG21108450
                             NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT
      Case 3:21-cv-07652-LB Document 1-1 Filed 09/29/21 Page 116 of 116




 1                                         PROOF OF SERVICE

 2       At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of San Mateo, State of California. My business address is 555 Twin
 3 Dolphin Drive, 5th Floor, Redwood Shores, CA 94065.

 4         On September 29, 2021, I served true copies of the following document(s) described as
   NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT on
 5 the interested parties in this action as follows:

 6 Michael F. Ram                             Benjamin R. Osborn
   mram@forthepeople.com                      ben@benosbornlaw.com
 7 Marie N. Appel                             Law Office of Benjamin R. Osborn
   mappel@forthepeople.com                    102 Bergen St.
 8
   MORGAN & MORGAN                            Brooklyn, NY 11201
 9 COMPLEX LITIGATION GROUP                   Tel: (347) 645-0464
   711 Van Ness Avenue, Suite 500
10 San Francisco, CA 94102                    Samuel J. Strauss
   Tel: (415) 358-6913                        sam@turkestrauss.com
11 Fax: (415) 358-6293                        TURKE & STRAUSS LLP
                                              613 Williamson Street #201 | Madison, WI 53703
12
                                              936 N 34th Street #300 | Seattle, WA 98103
13                                            Tel: (608) 237-1175

14          BY MAIL: I caused the enclosed documents(s) to be served by mail by A&A Legal; and

15         BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
   document(s) to be sent from the e-mail address cristinahenriquez@quinnemanuel.com to the
16 persons at the e-mail addresses listed in the Service List. I did not receive, within a reasonable
   time after the transmission, any electronic message or other indication that the transmission was
17 unsuccessful.

18          I declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct.
19
            Executed on September 29, 2021, at Mountain View, California.
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23                                                                   Cristina A. Henriquez
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                               NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT
